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                                           5Entered on Docket
                                       April 30, 2018
                                   ___________________________________________________________________
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                                               LARSON ZIRZOW & KAPLAN, LLC
                                           7
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                                               Attorneys for Plaintiff
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                                                                             UNITED STATES BANKRUPTCY COURT
                                          16                                    FOR THE DISTRICT OF NEVADA

                                          17   In re:                                             Case No.: BK-S-15-14956-abl
                                                                                                  Chapter 11
                                          18   MARC JOHN RANDAZZA,
                                          19
                                                                Debtor.
                                          20

                                          21   MARC J. RANDAZZA, an individual,                   Adv. No. 17-1005-abl
                                          22
                                                                Plaintiff,                        ORDER: (I) GRANTING PLAINTIFF’S
                                          23                                                      MOTION FOR SUMMARY
                                               v.                                                 JUDGMENT; AND (II) DISMISSING
                                          24                                                      ADVERSARY PROCEEDING FOR
                                               CRYSTAL L. COX, an individual,                     FAILURE TO APPEAR OR
                                          25                                                      PROSECUTE PURSUANT TO THE
                                                                Defendant.                        COURT’S ORDER CONTINUING
                                          26
                                                                                                  SCHEDULING CONFERENCE
                                          27
                                                                                                  Date: April 24, 2018
                                          28                                                      Time: 1:30 p.m.
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                                           1          Plaintiff, Marc John Randazza, as debtor and debtor in possession (“Mr. Randazza”),
                                           2
                                           2   having filed his Motion for Summary Judgment (the “Motion”) [Adv. ECF No. 13]; the Motion
                                           3
                                           3   and notice of hearing thereon having been properly and timely served; no opposition to the Motion
                                           4
                                           4   having been filed; the Court having reviewed and considered the Motion and all matters submitted
                                           5
                                           5   therewith; the Court having held a hearing on the Motion, with all appearances having been noted
                                           6
                                           6   on the record, and no appearance by the Defendant, Crystal Cox (“Ms. Cox”) having been made
                                           7
                                           7   at the hearing; the Court having heard and considered the arguments of counsel at the hearing;
                                           8
                                           8          The Court having held a prior scheduling conference in this adversary proceeding on
                                           9
                                           9   February 27, 2018 at which Ms. Cox failed to appear; the Court having thereafter entered an Order
                                          10
                                          10   Continuing Scheduling Conference (the “Scheduling Conference Order”) [Adv. ECF No. 19],
                                          11
                                          11   which ordered that the scheduling conference in this adversary proceeding would be continued to
                                          12
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                                               April 24, 2018 at 1:30 p.m. and further advising that the failure to appear at the April 24, 2018
 LARSON ZIRZOW & KAPLAN, LLC




                                          12
                                          13
                                          13   continued scheduling conference will constitute grounds for dismissal for failure to appear and
        Las Vegas, Nevada 89101




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          850 E. Bonneville Ave.




                                          14   prosecute this adversary proceeding; the Scheduling Conference Order having been properly and
                                          15
                                          15   timely served on Ms. Cox; no oppositions or filings by Ms. Cox having been made in response
                                          16
                                          16   thereto; the Court having held a continued scheduling conference on April 24, 2018 at which Ms.
                                          17
                                          17   Cox failed to appear; the Court having heard and considered the arguments of counsel at the
                                          18
                                          18   hearing; and
                                          19
                                          19          The Court having placed its findings of fact and conclusions of law on the record at the
                                          20
                                          20   hearing regarding the foregoing matters, which are incorporated herein by referenced pursuant to
                                          21
                                          21   Fed. R. Civ. P. 52, made applicable to this adversary proceeding pursuant to Fed. R. Bankr. P.
                                          22
                                          22   7052; and good cause appearing;
                                          23
                                          23          IT IS HEREBY ORDERED:
                                          24
                                          24          1.      Mr. Randazza’s Motion is GRANTED;
                                          25
                                          25          2.      Mr. Randazza is GRANTED summary judgment in his favor and against all claims
                                          26
                                          26   asserted by Ms. Cox in this adversary proceeding, and, as a result of the foregoing, all claims
                                          27
                                          27   asserted by Ms. Cox against Mr. Randazza in this adversary proceeding shall be and hereby are
                                          28
                                          28   DISMISSED; and



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                                           1          3.      In the alternative, pursuant to the Court’s Scheduling Conference Order, and as a
                                           2
                                           2   result of Ms. Cox’s failure to appear at the continued scheduling conference in this adversary
                                           3
                                           3   proceeding on April 24, 2018 at 1:30 p.m., this adversary proceeding is also DISMISSED for her
                                           4
                                           4   failure to appear and prosecute this proceeding.
                                           5
                                           5          IT IS SO ORDERED.
                                           6
                                           6
                                           7
                                               PREPARED AND SUBMITTED:
                                           7
                                           8
                                           8   By:    /s/ Matthew C. Zirzow
                                           9   LARSON ZIRZOW & KAPLAN, LLC
                                           9   ZACHARIAH LARSON, ESQ.
                                          10   Nevada Bar No. 7787
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                                          13   Attorneys for Plaintiff
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                                          15
                                                                                  LR 9021 CERTIFICATION
                                          15
                                          16
                                          16          In accordance with LR 9021, counsel submitting this document certifies that the order
                                          17   accurately reflects the court’s ruling and that (check one):
                                          17
                                          18
                                                              The court has waived the requirement set forth in LR 9021(b)(1).
                                          18
                                          19
                                          19                  No party appeared at the hearing or filed an objection to the motion.
                                          20
                                          20                  I have delivered a copy of this proposed order to all counsel who appeared
                                          21          at the hearing, and each has approved or disapproved the order, or failed to respond,
                                          21          as indicated below:
                                          22
                                          22                   I certify that this is a case under Chapter 7 or 13, that I have served a copy
                                          23
                                          23          of this order with the motion pursuant to LR 9014(g), and that no party has objected
                                          24          to the form or content of the order.
                                          24
                                          25                                                          ###
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